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UNITED STATES DISTRICT COURT 05 pp ml _2 fm 9: 33

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CL"F _'*;-'&ir\i, memphis

WESTERN DIS'I`RICT OF TENNESSEE W

U.S.A. vs. TERRANCE STEVENSON Docket No. 2:02CR20(}58-11
Petition on Probation and Supervised Release

COMES NOW Christy J. Henson PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Terrance Stevensog, who was placed on supervision by the Honorable
Bernice B. Donald sitting in the Court at Memphis, TN, on themi day of August , Z_ZM, who fixed the period
of supervision two 121 years* , and imposed the general terms and conditions theretofore adopted by the Court
and also imposed Special Conditions and terms as follows:

l. The defendant shall participate in the Home Detention program for a period of five (5) months.
(Completed)
2. The defendant shall seek and maintain employment

3. The defendant shall pay restitution in the amount of $7,750.00. (Balance : S7,370.00)
* Supervised Release began on June 11, 2003.
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

As of April 18, 2005, Mr. Stevenson has paid 33 80.00 towards his Court ordered obligation leaving an
outstanding balance of $7,370.00. Mr. Stevenson has been unable to satisfy his financial obligation due to periods
of unemployment and extreme financial difficulties However, on April 18, 2005, Mr. Stevenson signed an
Authorization for Automatic Payroll Deduction with the U.S. Attorney Financial Litigation Unit and agreed to
have Twenty-Five Dollars ($25.00) per week deducted from his wages.

PRAYING THAT THE COURT WILL ORDER that Terrance Stevenson be allowed to end his term of
Supervised Release with the understanding that the U.S. Attorney’s OHice will be responsible for the continued
collection of the restitution

 

ORDER OF COURT Respectfully,
Considered/andordered this 24 day of - / ' // f4'7¢1!¢)2@/"/
, ZOQA_ and ordered filed and - de Christy J/ e on
' ¢-/ . - United t e Probation Officer

  

 
   
 
   

Place: Memphis, TN

with Ruie 55 and!or 32(b) FF\CrP on Date: April 19. 2005

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 601 in
case 2:02-CR-20058 was distributed by faX, mail, or direct printing on

May 5, 2005 to the parties listed.

 

Linda Kendall Garner

LAW OFFICE OF LINDA KENDALL GARNER

1374 l\/ladison Ave.
l\/lemphis7 TN 3 8104

Financial Unit
FINANCIAL UNIT
167 N. l\/lain St.

Ste. 242

l\/lemphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

